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                           IN THE UNITED STATES DISTRICT COURT
                                FOR DISTRICT OF NEW JERSEY


  BRENDA TRIPICCHIO,
  On Behalf Of Herself And
  All Others Similarly Situated,                           CIVIL ACTION NO. _______

                           Plaintiff,
                                                           NOTICE OF REMOVAL
                           v.

  OLD NAVY, LLC; OLD NAVY (APPAREL)                        Document Electronically Filed
  LLC; OLD NAVY HOLDINGS, LLC; GPS
  SERVICES, INC.; THE GAP, INC.; and DOES
  1-20

                           Defendants.


 TO:      THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
          FOR THE DISTRICT OF NEW JERSEY

          PLEASE TAKE NOTICE that Defendants Old Navy, LLC; Old Navy (Apparel), LLC;

 Old Navy Holdings, LLC; GPS Services, Inc.; and The Gap, Inc. (collectively “Defendants”), by

 and through their attorneys, Morgan, Lewis & Bockius LLP, hereby remove this matter to this

 Court from the Superior Court of New Jersey, Law Division, Civil Part, Camden County pursuant

 to the Class Action Fairness Act (“CAFA”), 28 U.S.C. §§ 1332, 1441 and 1446. In support of

 removal, Defendants aver as follows:

          1.      Pursuant to Rule 10.1(a) of the Local Civil Rules, the addresses of the named

 parties are as follows:

                     Plaintiff Brenda Tripicchio stated in her Complaint that she is a citizen of New

                      Jersey, residing in Moorestown, Burlington County. Plaintiff is represented by

                      Stephen P. DeNittis, Esq. of the law firm DeNittis Osefchen Prince, P.C.,




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                      located at 5 Greentree Centre, 525 Route 73 North, Suite 410, Marlton, New

                      Jersey 08053.

                     Defendants Old Navy, LLC; Old Navy (Apparel), LLC; Old Navy Holdings,

                      LLC; GPS Services, Inc.; and The Gap, Inc. have their principal place of

                      business at 2 Folsom Street, San Francisco, California 94105. Defendants are

                      represented by the undersigned attorneys at Morgan, Lewis & Bockius LLP,

                      1701 Market Street, Philadelphia, Pennsylvania 19103.

          2.      Plaintiff Brenda Tripicchio (“Plaintiff”) initiated this action in the Superior Court

 of New Jersey, Law Division, Civil Part, Camden County on January 8, 2020. A copy of Plaintiff’s

 Complaint is attached as Exhibit 1.

          3.      Defendants were served with Plaintiff’s Complaint on January 15, 2020. Plaintiff’s

 Complaint is the only process, pleading, or order served on Defendants. Cf. 28 U.S.C. § 1446(a).

          4.      Because this Notice of Removal is filed within thirty (30) days after Plaintiff served

 her Complaint upon Defendants, it is timely under 28 U.S.C. § 1446(b) and Fed. R. Civ. P.

 6(a)(1)(C).

          5.      Plaintiff alleges that she purchased goods on numerous occasions from Defendants’

 Old Navy and Old Navy Outlet stores in New Jersey. See Compl. at ¶ 71.

          6.      Plaintiff’s Complaint contends that Defendants violated New Jersey’s Consumer

 Fraud Act, N.J.S.A. 56:8-1 et seq. (the “NJCFA”), by allegedly placing fake base prices on

 products for sale in Old Navy and Old Navy Outlet stores and subsequently advertising and

 offering those products for sale at a purportedly discounted lower “sale” price. See Compl. at ¶¶

 147, 149.




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          7.      Plaintiff’s Complaint also contends that Plaintiff and the class are entitled to

 injunctive and declaratory relief under New Jersey’s Uniform Declaratory Judgment Act, N.J.S.A.

 2A16-51, et seq. (the “NJSA”) for Defendants’ purported uniform pricing practices. See Compl.

 at ¶¶ 125-132.

          8.      Plaintiff’s Complaint defines the proposed class to include herself as well as a

 putative class consisting of “[a]ll New Jersey citizens who purchased any purportedly discounted

 item from a physical Old Navy or Old Navy Outlet store in New Jersey between January 8, 2014

 and the present.” Compl. at ¶ 107.

          9.      Plaintiff alleges that this putative class “is composed of at least 10,000 persons.”

 Compl. at ¶ 111.

          10.     Accordingly, this is a “class action” as defined in 28 U.S.C. §§ 1332(d)(1)(B) and

 1453.1

          11.     Mindful of the time limitations on removal imposed by 28 U.S.C. § 1446(b), and

 in light of the state-wide scope of the putative class included in Plaintiff’s Complaint, Defendants

 hereby remove this action on the ground that this action satisfies the test for CAFA removal.

                             DIVERSITY OF CITIZENSHIP EXISTS

          12.     District courts have subject matter jurisdiction over a “class action,” as defined in

 28 U.S.C. §§ 1332(d)(1)(B) and 1453, where, inter alia, “any member of a class of plaintiffs is a

 citizen of a State different from any defendant[.]” See 28 U.S.C. § 1332(d)(2)(A).

          13.     Plaintiff alleges that she is a citizen of New Jersey. See Compl. at ¶ 17. Moreover,

 Plaintiff defines the class to include persons who purchased any purportedly discounted item from


          1
          Defendants do not agree that Plaintiff’s claims are subject to class treatment in any form
 and reserve the right to make all available arguments in that regard, if necessary, at the appropriate
 time.

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 a physical Old Navy or Old Navy Outlet store in New Jersey. See, supra, Notice of Removal at ¶

 8.

          14.     Pursuant to 28 U.S.C. § 1332(c), a corporation is “a citizen of every State . . . by

 which it has been incorporated and of the State . . . where it has its principal place of business.”

 Defendant The Gap, Inc. is incorporated in Delaware and has its principal place of business in

 California, making it a citizen of Delaware and California. Defendant Old Navy, LLC is a for-

 profit limited liability company formed and existing under the laws of Delaware with its principal

 place of business in California, making it a citizen of Delaware and California. Defendant Old

 Navy (Apparel), LLC is a for-profit limited liability company formed and existing under the laws

 of California with its principal place of business in California, making it a citizen of California.

 Defendant Old Navy Holdings, LLC was previously a for-profit limited liability company formed

 and existing under the laws of California with its principal place of business in California, before

 it was merged into Defendant Old Navy, LLC. Nonetheless, for purposes of this Notice of

 Removal, Defendant Old Navy Holdings, LLC is a citizen of California. GPS Services, Inc. is

 incorporated in California and has its principal place of business in California, making it a citizen

 of California. As a result, at least one member of the putative class Plaintiff seeks to represent is

 a citizen of a different State than Defendants. See 28 U.S.C. § 1332(d)(2)(A).

             THE AMOUNT IN CONTROVERSY REQUIREMENT IS SATISFIED

          15.     District courts have subject matter jurisdiction over a “class action,” as defined in

 28 U.S.C. §§ 1332(d)(1)(B) and 1453, where, inter alia, “the matter in controversy exceeds the

 sum or value of $5,000,000, exclusive of interest and costs[.]” See 28 U.S.C. § 1332(d)(2).

 Pursuant to 28 U.S.C. § 1332(d)(6), the claims of each putative class member can be aggregated




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 to determine whether the amount in controversy requirement is satisfied. See 28 U.S.C. §

 1332(d)(6).

          16.     Plaintiff’s Complaint seeks injunctive and declaratory relief whereby the court

 adjudges Defendants’ past conduct to be in violation of federal and state pricing regulations. See

 Compl. at ¶ 127. Specifically, Plaintiff alleges that Plaintiff and the class are entitled to an order

 finding that Defendants violated New Jersey law by offering fictitious reference prices and

 enjoining Defendants from continuation of such alleged policies. Compl. at ¶ 128.

          17.     In an action seeking declaratory or injunctive relief, the amount in controversy for

 jurisdictional purposes is “measured by the value of the object of the litigation.” See Hunt v.

 Washington State Apple Advertising Comm’n, 432 U.S. 333, 347 (1997). For actions seeking

 declaratory relief, the amount in controversy is the value of the right to be declared. See Auto-

 Owners Insurance Company v. Stevens & Ricci Inc., 835 F.3d 388, 398 (3rd Cir. 2016). For actions

 seeking injunctive relief, the amount in controversy is determined by the pecuniary result that the

 judgment would directly produce, particularly from the plaintiff’s viewpoint. See Hunter v.

 Greenwood Trust Co., 856 F. Supp. 207, 219 (D.N.J. 1992); Weinberg v. Sprint Corp., 165 F.R.D.

 431, 443 (D.N.J. 1996). Accordingly, the yardstick for measuring the amount in controversy in an

 injunction case is the value to plaintiffs to conduct their personal or business affairs free from the

 activity that is sought to be enjoined. See id.

          18.     Here, the declaration sought by Plaintiff would determine whether Defendants

 unlawfully obtained millions of dollars in revenue from citizens of New Jersey who purchased

 items from Old Navy stores and Old Navy Outlet stores during the class period.2



          2
          In South Florida Wellness, Inc. v. Allstate Ins. Co., 745 F.3d 1312, 1316 (11th Cir.
 2014), a class action defendant successfully established the threshold amount in controversy by
 showing that a declaration sought by the plaintiff would determine whether the defendant made

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          19.     Although Plaintiff does not request damages, under remedies purportedly available

 under N.J.S.A. 56:8-2.12, Plaintiff and putative class members, through a private action, may seek

 to recover refunds of all money acquired by Defendants by means of any practice declared to be

 in violation of the statute. See N.J.S.A. 56:8-2.11 – 8-2.12. Accordingly, if Plaintiff is successful

 and obtains an order adjudging the alleged conduct to have been unlawful, Defendants’ customers

 could seek to recover all of the money acquired by Defendants during the class period. Plaintiff

 also seeks “reasonable attorney’s fees and all costs” and an injunction “prohibiting the complained-

 of conduct by Defendants in the future.” Compl. Prayer for Relief at ¶¶ C-D.

          20.     Where a plaintiff has not alleged a specific damages amount, a district court may

 rely on evidence the removing defendant puts forward, as well as reasonable deductions and

 inferences drawn from that evidence, to determine whether the defendant has carried its burden of

 establishing that the amount exceeds the jurisdictional minimum. See South Fla. Wellness, Inc. v.

 Allstate Ins. Co., 745 F.3d 1312, 1315 (11th Cir. 2014). Furthermore, for purposes of determining

 jurisdiction, the amount in controversy is “not measured by the low end of an open-ended claim,

 but rather by a reasonable reading of the value of the rights being litigated.” Auto-Owners, 835

 F.3d at 401 (quoting Angus v. Shiley Inc., 989 F.2d 142, 146 (3d Cir. 1993).)

          21.     Based on the allegations in the Complaint, the amount in controversy requirement

 is satisfied. Plaintiff alleges that the class includes every citizen who purchased any purportedly

 “discounted item” from at least 37 Old Navy and Old Navy Outlet stores in New Jersey from

 January 8, 2014 until the present. See Compl. at ¶¶ 23, 107. Plaintiff further alleges that purchases

 would not have been made absent the allegedly unlawful advertising scheme. See Compl. at ¶ 96.




 insufficient payments on more than $1.6 million bills for payment or reimbursement with the
 amount of insufficiency exceeding $68 million.

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 Hundreds of thousands of physical Old Navy and Old Navy Outlet store “discounted items”

 implicated by the allegations have been sold in New Jersey since January 8, 2014. If, as Plaintiff

 alleges, she is able to prove that Defendants’ conduct violated the NJCFA and these purchases

 would not have otherwise been made, Defendants face the risk of claims for refunds of the total

 purchase price for each discounted item sold in New Jersey during the six-year period.3 The

 amount in controversy for these violations, if Plaintiff obtains the requested declaratory judgment,

 would be in excess of $5 million, based on the volume of sales in physical Old Navy and Old Navy

 Outlet stores in New Jersey since January 8, 2014. Declaration of Elissa Zerfoss at ¶ 4.

           22.    Plaintiff’s claims for attorneys’ fees and injunctive relief, including the cost of

 implementing the requested relief, only further confirm that the amount in controversy requirement

 is met.

           23.    Accordingly, this Court has subject matter jurisdiction pursuant to 28 U.S.C. §

 1332(d)(2).4 This analysis satisfies the requirement that Defendants include “only a plausible

 allegation that the amount in controversy exceeds the jurisdictional threshold” in this Notice,

 without the need to include evidentiary submissions at this stage. Dart Cherokee Basin Operating

 Co. v. Owens, 574 U.S. 81, 81 (2014).

                                                VENUE

           24.    Venue is proper in this district pursuant to 28 U.S.C. § 1441 (a).


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          Defendants do not agree that Plaintiff or putative class members have been damaged or
 suffered any “ascertainable loss” under the NJCFA, and reserve the right to make all available
 arguments in that regard, if necessary, at the appropriate time.
           4
         CAFA’s “local controversy” and “home state” exceptions both apply only where the
 defendant is a citizen of the State in which the action was originally filed. See 28 U.S.C. §
 1332(d)(4)(A)(cc) (requiring that “at least one defendant . . . is a citizen of the State in which the
 action was originally filed”); id. at § 1332(d)(4)(B) (requiring, inter alia, that “primary
 defendants[] are citizens of the State in which the action was originally filed”). Defendants
 demonstrated above that they are not citizens of New Jersey; therefore, neither exception applies.

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                                             NOTICE

          25.     Defendants will promptly serve Plaintiff with this Notice of Removal and file a

 copy of this Notice of Removal with the clerk of the Superior Court of New Jersey, Law Division,

 Civil Part, Camden County pursuant to 28 U.S.C. § 1446(d).

                                          CONCLUSION

          WHEREFORE, Defendants respectfully remove this matter to this Court pursuant to 28

 U.S.C. §§ 1332, 1441 and 1446.

 Dated: February 11, 2020                            MORGAN, LEWIS & BOCKIUS LLP
                                                     (A Pennsylvania Limited Liability Partnership)

                                                     /s/ Kristin M. Hadgis
                                                     Kristin M. Hadgis
                                                     kristin.hadgis@morganlewis.com
                                                     1701 Market Street
                                                     Philadelphia, PA 19103-2921
                                                     (215) 963-5000

                                                     Attorneys for Defendants

                                                     Old Navy, LLC; Old Navy (Apparel) LLC; Old
                                                     Navy Holdings, LLC; GPS Services, Inc.; The
                                                     Gap, Inc.




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                                         CERTIFICATION

          Pursuant to Local Civil Rule 11.2, the undersigned hereby certifies that, to the best of her

 knowledge, the matters raised herein are subject to the following lawsuits:

          Andrews v. Old Navy, LLC, et al., CGC-19-580710, pending before Judge Garrett L.

 Wong in the Superior Court of California, County of San Francisco.

          Barba v. Old Navy, LLC, et al., CGC-19-581937, pending before Judge Garrett L. Wong

 in the Superior Court of California, County of San Francisco.

          Hennessey v. The GAP, Inc., et al, 4:19-cv-01867-SEP, pending before Judge Sarah E.

 Pitlyk in the District Court of the United States, Eastern District of Missouri.

          Nemykina v. Old Navy, LLC, et al., 2:19-cv-01958-MAT, pending before Judge Mary

 Alice Theiler in the District Court of the United States, Western District of Washington.



 Dated: February 11, 2020                              MORGAN, LEWIS & BOCKIUS LLP
                                                       (A Pennsylvania Limited Liability Partnership)

                                                       /s/ Kristin M. Hadgis
                                                       Kristin M. Hadgis
                                                       kristin.hadgis@morganlewis.com
                                                       1701 Market Street
                                                       Philadelphia, PA 19103-2921
                                                       (215) 963-5000

                                                     Attorneys for Defendants
                                                    OLD NAVY, LLC; OLD NAVY (APPAREL)
                                                    LLC; OLD NAVY HOLDINGS, LLC; GPS
                                                    SERVICES, INC.; THE GAP, INC.




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                                   CERTIFICATE OF SERVICE

          I, Kristin M. Hadgis, hereby certify that I caused to be served a true and correct copy of

 the foregoing Notice of Removal with attached exhibits and Local Rule 11.2 Certification this

 11th day of February, 2020, as follows:

                                        Via Electronic Mail:
                                         Stephen P. DeNittis
                                         Joseph A. Osefchen
                                            Shane T. Prince
                                    DeNittis Osefchen Prince, P.C.
                                          5 Greentree Centre
                                    525 Route 73 North, Suite 410
                                     Marlton, New Jersey 08053
                                     Telephone: (856) 797-9951
                                  Email: sdenittis@denittislaw.com
                                  Email: josefchen@denittislaw.com
                                   Email: sprince@denittislaw.com

                                           Daniel M. Hattis
                                           Paul Karl Lukacs
                                           Hattis & Lukacs
                                     400 108th Ave NE, Suite 500
                                     Bellevue, Washington 98004
                                      Telephone: (425) 233-8650
                                      Email: dan@hattislaw.com
                                      Email: pkl@hattislaw.com

                                         Attorneys for Plaintiff



                                                        /s/ Kristin M. Hadgis
                                                        Kristin M. Hadgis




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